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       January 26, 2023

       Via CM/ECF
       The Honorable Nicholas G. Garaufis
       United States District Court
       Eastern District of New York

               Re:     Dawkins v. Restonic Sales, Inc.
                       Case #: 1:22-cv-06624-NGG-LB

       Dear Judge Garaufis:

               We represent the plaintiff in the above matter.

              Plaintiff brings this class-action civil rights action pursuant to Title III of the Americans with
       Disabilities Act (“ADA”), 42 U.S.C. § 1281 et seq., alleging that the subject website,
       www.restonic.com, violates the ADA by not offering Plaintiff and all other blind and visually-
       impaired users access to its features.

               We write to respectfully request leave to amend the complaint in order to address the issues
       raised in Defendant’s January 19, 2023, letter request for a pre-motion conference. It is Plaintiff’s
       intent to plead with greater specificity as to Plaintiff’s purpose for visiting Defendant’s website, and
       the accessibility barriers that he encountered.

               We ask for a period of 30 days to amend the complaint.

               We thank Your Honor and the Court for its kind considerations and courtesies.


                                                                       Respectfully submitted,

                                                                       s/ Mark Rozenberg
                                                                       Mark Rozenberg, Esq.
